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18                      IN THE UNITED STATES DISTRICT COURT
19                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                                  SOUTHERN DIVISION
21      MASIMO CORPORATION,                  ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and
22      CERCACOR LABORATORIES, INC., )
        a Delaware corporation               ) PLAINTIFFS’ APPLICATION FOR
23                                           ) LEAVE
                                                PORTIONS
                                                         TO FILE UNDER SEAL
                                                             OF JOINTLY PROPOSED
                    Plaintiffs,              ) JURY INSTRUCTIONS
24
              v.                             )
25                                           )
        APPLE INC., a California corporation )
26
                                             )
27                  Defendant.               )
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1            Pursuant to Local Rule 79-5.2.2(a), Plaintiffs Masimo Corporation and Cercacor
2      Laboratories, Inc. (collectively, “Masimo”) respectfully request leave to file under seal
3      portions of Jointly Proposed Jury Instructions (“Jury Instructions”).
4                                    I.     LEGAL STANDARDS
5            The public’s “access to judicial records is not absolute.” Kamakana v. City &
6      Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). Litigation documents are
7      properly sealed upon a showing of good cause. See Phillips ex rel. Estates of Byrd v.
8      Gen. Motors Corp., 307 F.3d 1206, 1210 (9th Cir. 2002). “One factor that weighs in
9      favor of sealing documents is when the release of the documents will cause competitive
10     harm to a business.” Apple Inc. v. Samsung Elecs. Co., Ltd., 727 F.3d 1214, 1221 (Fed.
11     Cir. 2013). Information should be sealed where “competitors could not obtain [the
12     information] anywhere else.” Id. at 1229 (reversing district court’s refusal to seal
13     material after finding compelling reasons to seal the material). Moreover, Section
14     3426.5 of the California Civil Code broadly requires a court to “preserve the secrecy of
15     an alleged trade secret by reasonable means,” including “sealing the records of the
16     action.” Cal. Civ. Code § 3426.5 (emphasis added).
17                                        II.    ARGUMENT
18
             The portions of the Jury Instructions that Masimo seeks to seal contains
19
       information that Masimo considers confidential. Hughes Decl. ¶ 4.
20
             The portions of the Jury Instruction which Masimo seeks to file under seal
21
       disclose Masimo’s confidential business information and sensitive trade secret
22
       information. Id. ¶ 5. This information is confidential and valuable to Masimo in part
23
       because of its secrecy. Id. If Masimo’s confidential trade secret information was
24
       disclosed, Masimo’s competitors would reap the benefits of Masimo’s large investment
25
       without the time or costs incurred by Masimo in its trade secrets. Id. Thus, Masimo
26
       would be harmed if this information were disclosed. Id.
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1                 Courts seal documents where, as here, disclosure “will cause competitive harm.”
2      See Apple, 727 F.3d at 1221. Masimo’s competitors should not, because of the judicial
3      process, be permitted to access Masimo’s confidential information that they “could not
4      obtain anywhere else.” Id. at 1229. For instance, Masimo’s competitors would not be
5      able to obtain from elsewhere the information regarding Masimo’s trade secrets.
6                 Thus, good cause exists to seal the highlighted portions of the Jury Instructions.
7                                            III.   CONCLUSION
8                 For the reasons discussed above, Masimo respectfully requests that the Court seal
9      proposed highlighted portions of the Jury Instructions.
10
11                                                   Respectfully submitted,
12                                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
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       Dated: March 28, 2023                         By: /s/ Daniel P. Hughes
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24                                                          CERCACOR LABORATORIES, INC.
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